Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 1 of 39

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS United States Courts
HOUSTON DIVISION Southern District of Texas
ENTERED

JUN 2 4 2004

FRANKLIN RODRIGUEZ DELGADO,
et al.,

Michael N. Milby, Clerk of Court

Plaintiffs,
Vv. CIVIL ACTION NO. H-94-1337
SHELL OIL COMPANY, et al.,

Defendants.

DEL MONTE FRESH PRODUCE, N.A.,
Third-Party Plaintiff,
Vv.

DEAD SEA BROMINE CO., LTD.
and AMERIBROME, INC.,

Minn min wm WM a Wi tn Wm Wn Wn Wn im tn ta Wo Wo)

Third-Party Defendants.

MEMORANDUM AND ORDER OF REMAND

Pending before the court are Costa Rican Plaintiffs’ Motion to
Remand for Ruling on Request for Return Jurisdiction (Docket Entry
No. 495) and Motion for Reinstatement of Claims by Plaintiffs from
Costa Rica (Docket Entry No. 438). Plaintiffs’ motion to remand
(Docket Entry No. 495) challenges the court’s subject matter
jurisdiction to rule on their motion to reinstate (Docket Entry
No. 438). At issue is whether, following the Supreme Court’s

opinion in Dole Food Co. v. Patrickson, 123 S.Ct. 1655 (2003), this

ae

Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 2 of 39

court has jurisdiction to rule on plaintiffs’ motion to reinstate
and, if not, whether the underlying cases can be remanded to state
court. For the reasons explained below, the court concludes that
it lacks subject matter jurisdiction to rule on plaintiffs’ motion
to reinstate. Consequently, plaintiffs’ motion to remand for lack

of subject matter jurisdiction will be granted.

I. Background

In 1994 foreign banana workers allegedly injured by exposure
to the chemical dibromochloropropane (DBPC) filed four separate
actions in Texas state courts. One of the named defendants in each
of these cases impleaded third-party defendants, Dead Sea Bromine
Co., Ltd. and Ameribrome, Inc. (Dead Sea entities). Asserting that
they were instrumentalities of the State of Israel under the
Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1602, et seq.
(FSIA), the Dead Sea entities removed each case to federal court
under 28 U.S.C. § 1441(d), which permits removal of “[a]ny civil
action brought in a state court against a foreign state.” Arguing
inter alia that the Dead Sea entities were not instrumentalities of
a foreign state under the FSIA, plaintiffs moved to remand. “In
response to plaintiffs’ motion to remand defendants argued that
federal subject matter jurisdiction was provided by the presence of
[the] Dead Sea [entities] in the case and by the existence of
complete diversity of citizenship and federal questions.” Delgado

v. Shell Oil Co. (Delgado II), 890 F.Supp. 1324, 1337 (S.D. Tex.

1995).
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 3 of 39

On June 30, 1994, the court entered a Memorandum and Order in

which it concluded that

Dead Sea, as a foreign sovereign, had a right to remove
the case, but declined to decide whether Dead Sea’s
presence conferred subject matter jurisdiction until Dead
Sea had an opportunity to fully present its sovereign
immunity arguments. The court also deferred deciding
whether alternative bases for subject matter jurisdiction
existed until the parties submitted additional materials
demonstrating the citizenship of Standard Fruit Co.

Delgado II, 890 F.Supp. at 1337 (citing Delgado v. Shell Oil Co.

(Delgado I), 890 F.Supp. 1315, 1323 (S.D. Tex. 1994)).*

On July 11, 1995, the court entered a Memorandum and Order in
which it concluded that
[b]ecause Dead Sea was a foreign sovereign when
plaintiffs were allegedly exposed to its DBCP .. . [and
bjecause Dead Sea has waived its foreign sovereign
immunity and has consented to the jurisdiction of this
court, its presence confer[red] federal subject matter
jurisdiction over the entire controversy.
Id. at 1372. The court conditionally granted defendants’ motion to
dismiss under the doctrine of forum non conveniens (f.n.c.), and

ordered that a previously entered preliminary injunction “remain in

effect pending further order of this court.” Delgado II, 890

F.Supp. at 1372-1375. The court’s Memorandum and Order also
included a return jurisdiction clause.
On October 27, 1995, the court entered its Final Judgment,

which included an injunction that permanently enjoined the

‘The Federal Supplement incorrectly reports the date of this
decision as June 30, 1995.

-3-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 4 of 39

plaintiffs, intervenors, and others from commencing actions based
on other DBCP-related claims.’ In response plaintiffs refiled
their claims in their home countries where some are still pending.°*

On October 19, 2000, the Fifth Circuit affirmed this court’s
assertion of subject matter jurisdiction and f.n.c. dismissal of

this case. Delgado v. Shell Oil Co. (Delgado III), 231 F.3d 165,

176 (5th Cir. 2000) (“Dead Sea is a foreign state for purposes of
the FSIA and can create federal subject matter jurisdiction in
actions that it properly removes to federal court.”).

On April 16, 2001, the Supreme Court denied plaintiffs’
application for certiorari. Delgado v. Shell Oil Co., 121 S.Ct.
1603 (2001). On February 24, 2003, the Supreme Court denied
plaintiffs’ motion for leave to file a petition for rehearing.

Delgado v. Shell Oil Co., 123 $.Ct. 1350 (2003).

II. Costa Rican Plaintiffs’ Motion to Reinstate

Alleging that their claims have been dismissed for want of
jurisdiction by the highest court of Costa Rica, Costa Rican
plaintiffs seek to have their claims reinstated in an American

court pursuant to the return jurisdiction clause contained in the

*See Final Judgment, Docket Entry No. 393. See also Ex. 2
attached to Plaintiffs’ and Intervenors’ Motion to Vacate, Docket
Entry No. 483.

3In their Motion to Vacate filed on May 13, 2003, plaintiffs
stated that claims of Philippine, Honduran, ana Ecuadoran
plaintiffs are still pending in their home countries. See Docket
Entry No. 483, p. 3 § 13.

-4-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 5 of 39

court’s Memorandum and Order of July 11, 1995. See Delgado II, 890

F.Supp. at 1375.*

Alleging that their claims were dismissed for want of
jurisdiction in a case that was affirmed by the Costa Rican Supreme
Court, Costa Rican plaintiffs filed their Motion for Reinstatement
of Claims by Plaintiffs from Costa Rica on April 1, 1996 (Docket
Entry No. 438). On February 20, 1997, the court entered an Order
(Docket Entry No. 472) denying plaintiffs’ motion to reinstate
“without prejudice to being reinstated as fully briefed upon the
issuance of a mandate from the Fifth Circuit affirming the court’s
final judgment .”

On December 11, 2000, plaintiffs filed a submission informing
the court that

some of the Costa Rican plaintiffs have settled with all

defendants. Some, however, have settled with the manu-

facturers of DBCP, but not with their employer. The
motion for reinstatement as to Costa Rican plaintiffs

thus remains pending as to those plaintiffs employed by

the Standard Fruit Co./Dole Food Co. group’ of

defendants.°
Plaintiffs also informed the court that they intended to petition
the Supreme Court for certiorari to review the Fifth Circuit’s

decision and suggested that “[t]his [c]ourt may wish to further

defer ruling on the Costa Rican motion for reinstatement until the

‘Motion for Reinstatement of Claims by Plaintiffs from
Costa Rica, Docket Entry No. 438.

°"See Amended Submission Concerning the Motion for
Reinstatement of Claims by Plaintiffs from Costa Rica, Docket Entry
No. 476, first unnumbered page.

-5-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 6 of 39

Supreme Court’s disposition of that petition.”® On May 30, 2001,

the Ninth Circuit held in Patrickson v. Dole Food Co., 251 F.3d

795, 808 (9th Cir. 2001), that the Dead Sea entities were not
instrumentalities of a foreign state and, therefore, that there was
no federal subject matter jurisdiction over banana-worker cases in
which the Dead Sea entities had been named as third-party
defendants. On June 25, 2001, plaintiffs filed a submission
informing the court that the Motion for Reinstatement of Claims by
Plaintiffs from Costa Rica was still pending, asserting that
although the Supreme Court had denied their petition for
certiorari, they intended to seek rehearing, and suggesting that
the court should defer ruling on the motion until the Supreme Court
ruled on their petition for rehearing.’ On February 6, 2002, the
parties submitted a Joint Status Report in which they urged the
court to defer ruling on plaintiffs’ motion for reinstatement

pending the Supreme Court’s decision on the petition for certiorari

filed in Patrickson, and plaintiffs informed the court that if

certiorari was granted in Patrickson, they intended to seek

rehearing in this case.®

‘Id. at second unnumbered page.

"See Plaintiffs’ Status Report Concerning the Motion for
Reinstatement of Claims by Plaintiffs from Costa Rica, Docket Entry
No. 480.

®°See Joint Status Report, Docket Entry No. 482, p. 3.

-6-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 7 of 39

III. Motion to Vacate Final Judgment and
Permanent Injunction

On June 28, 2002, the Supreme Court granted certiorari in

Patrickson. Dole Food Co. v. Patrickson, 122 S.Ct. 2657 (2002);

Dead Sea Bromine Co., Ltd. v. Patrickson, 122 S.Ct. 2658 (2002).

On April 22, 2003, the Supreme Court affirmed the Ninth Circuit's

Patrickson decision in an opinion that squarely rejected the Fifth
Circuit’s Delgado holding:

The Dead Sea Companies, as indirect subsidiaries of the
State of Israel, were not instrumentalities of Israel
under the FSIA at any time. Those companies cannot come
within the statutory language which grants status as an
instrumentality of a foreign state to an entity a
“majority of whose shares or other ownership interest is
owned by a foreign state or political subdivision
thereof.” [28 U.S.C.] § 1603(b) (2). We hold that only
direct ownership of a majority of shares by the foreign
state satisfies the statutory requirement.

Dole Food Co. v. Patrickson, 123 §.Ct. 1655, 1660 (2003).

Based on the Supreme Court’s opinion in Patrickson, plaintiffs

and intervenors filed a Motion to Vacate Order of Dismissal and
Injunction, and to Remand (Docket Entry No. 483). They argued that

“[t]he Supreme Court’s holding [in Patrickson] makes clear that

this Court did not have jurisdiction when it denied remand of these
consolidated cases and dismissed them under the doctrine of forum
non conveniens.”? In a Memorandum and Order entered on March 15,
2004 (Docket Entry No. 493), the court granted plaintiffs’ and
intervenors’ request to vacate the permanent injunction that

prevented them from filing new DBPC-related actions after

°Plaintiffs’ and Intervenors’ Motion to Vacate Order of
Dismissal and Injunction, Docket Entry No. 483, p. 1.

-7J-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 8 of 39

concluding that the injunction had prospective effect and that it
barred new and independent actions between the same parties based
on the same claims.?° The court also denied plaintiffs’ and
intervenors’ motion to vacate the f.n.c. dismissal after concluding
(1) that it was not void, (2) that the prospective effect of the
return jurisdiction clause would not inequitably deny plaintiffs
their day in court, and (3) that the conflict between the Fifth
Circuit’s opinion in this case and the Ninth Circuit’s opinion in

Patrickson did not constitute special circumstances that warranted

vacating the f.n.c. dismissal.!? The court also entered a Final
Judgment dismissing this action for lack of subject matter
jurisdiction (Docket Entry No. 494).

IV. Costa Rican Plaintiffs’ Motion to Remand for
Ruling on Request for Return Jurisdiction

On March 23, 2004, Costa Rican plaintiffs filed their Motion
to Remand for Ruling on Request for Return Jurisdiction (Docket

Entry No. 495).

*°See Memorandum and Order, Docket Entry No. 493, pp. 14-16
(citing Kirksey v. City of Jackson, 714 F.2d 42, 43 (5th Cir.
1983), and Elgin National Watch Co. v. Barrett, 213 F.2d 776, 780
(Sth Cir. 1951) (upholding final judgment dismissing this case
pursuant in relevant part to court’s Memorandum and Order of
July 11, 1995, but vacating prospective application of permanent
injunction entered three years earlier based on Supreme Court’s
subsequent interpretation of statutory law).

NTd. at pp. 7-10 (explaining why dismissal is not void),
pp. 12-14 (explaining why court was not persuaded that return
jurisdiction clause would deny plaintiffs their day in court), and
pp. 17-18 (explaining why court was not persuaded that special
circumstances exist that warrant vacating the f.n.c. dismissal).

-~B-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 9 of 39

Pursuant to the Court’s Memorandum and Order entered on
March 15, 2004, Plaintiffs request that the Court remand
these consolidated cases to state court for a ruling on
Plaintiff's request for return jurisdiction.
Specifically, Plaintiffs request that the Court remand
the claims of Costa Rican plaintiffs to state court for
consideration of their previously-filed Motion for
Reinstatement of Claims by Plaintiffs from Costa Rica.*?

Plaintiffs assert that because the Supreme Court twice denied

certiorari in this case, Delgado v. Shell Oil Co., 123 S.Ct. 1350

(2003), and Delgado v. Shell Oil Co., 121 S.Ct. 1603 (2001), the

“Motion for Reinstatement of Claims by Plaintiffs from Costa Rica
is ripe for consideration.”"* Nevertheless, plaintiffs argue that
because their motion to reinstate asks the court to resume

jurisdiction over their claims, and because under Patrickson, 123

S.Ct. 1655, the court cannot resume jurisdiction, the court lacks
jurisdiction to adjudicate their motion to reinstate, “and so must
remand the case to state court for consideration of the Motion for
Reinstatement.”'* Although defendants agree with plaintiffs that
“[r]esolution of the motion for reinstatement .. . is ripe,”’
defendants dispute plaintiffs’ assertion that the court lacks

jurisdiction to rule on it. Instead, defendants argue that “[o]nly

“Costa Rican Plaintiffs’ Motion to Remand for Ruling on
Request for Return Jurisdiction, Docket Entry No. 495, p. 1 41.

Id. at p. 296. Plaintiffs also state that their motion to
reinstate is fully supported by additional briefing submitted in
1996 (Docket Entry Nos. 451, 460, and 462). Id. at p. 3 § 8.

“Td. at p. 3 § 9.

‘SDole Defendants’ Memorandum in Opposition, Docket Entry
No. 496, p. 3.

-9-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 10 of 39

after a determination that the motion to reinstate was properly
supported (which Dole disputes for all of the reasons set forth in
its prior briefing), need the Court consider whether it can hear
the reinstated case on the merits or whether that case should be

remanded.”1&

A. Subject Matter Jurisdiction Over Motion to Reinstate
Although the court stated in its Memorandum and Order of
March 15, 2004, that it was persuaded that the return jurisdiction
clause could have prospective effect, the court declined to vacate
the f.n.c. dismissal on that basis because it was not persuaded
that the return jurisdiction clause would inequitably deny
plaintiffs their day in court. The court explained that
fa] lthough under Patrickson the court would lack subject
matter jurisdiction to retain and adjudicate the claims
asserted in these cases based on the Dead Sea entities’
status as an instrumentality of a foreign state,
Patrickson does not disturb the court’s power to

determine its jurisdiction pursuant to a motion to
return.?’

The issue now before the court is whether, following Patrickson,

the court has subject matter jurisdiction to rule on the motion to
reinstate that plaintiffs have filed pursuant to the return

jurisdiction clause included in the July 11, 1995, Memorandum and

‘SBecause “fa] bedrock principle of federal courts is that they
have jurisdiction to determine jurisdiction,” Cargill Ferrous
Intern. v. SEA PHOENIX MV, 325 F.3d 695, 704 (5th Cir. 2003), and
because the parties do not dispute the court’s jurisdiction to rule
on the pending motion, the following discussion does not address
the court’s jurisdiction to rule on the pending motion to remand.

Memorandum and Order, Docket Entry No. 493, pp. 13-14.

-10-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 11 of 39

Order and, if not, whether the underlying cases should be remanded
to state court. These issues are matters of first impression
because, as plaintiffs observed in their prior briefing,

there are no cases directly on point. Specifically,
Plaintiffs have found no cases in which (1) the district
court dismissed for forum non conveniens, (2) Plaintiffs
refiled in their home countries, where their suits were
dismissed for lack of jurisdiction, and (3) before the
district court had an opportunity to rule on Plaintiffs’
motion to reinstate, intervening case law made clear that
the district court did not have jurisdiction to dismiss
for forum non conveniens.?®

1. The Court’s Prior Rulings

Following removal of the state court actions underlying this
action, plaintiffs moved to remand on grounds that the court lacked
subject matter jurisdiction, and defendants moved to dismiss under
the doctrine of f.n.c. In its July 11, 1995, Memorandum and Order
the court concluded that (1) the Dead Sea entities were
instrumentalities of the State of Israel for purposes of the FSIA,
and their presence in this lawsuit conferred federal subject matter
jurisdiction over the entire controversy; and (2) defendants’
motion to dismiss on grounds of f.n.c. should be conditionally

granted. Delgado II, 890 F.Supp. at 1372-1373."

‘8Plaintiffs’ and Intervenors’ Reply in Further Support of
Motion to Vacate Order of Dismissal and Injunction, and to Remand,
Docket Entry No. 489, p. 4 §¢ 13. See also id.. at p. 1 ¢ 1 where
plaintiffs assert: “This case is unique. Plaintiffs are aware of
no other case in which a fundamental prerequisite to dismissal ~
i.e., a return jurisdiction clause ~ is prospective in application
yet becomes unenforceable as a result of an intervening
jurisdictional ruling.”

Although the court also enjoined plaintiffs from commencing
new lawsuits, see Delgado II, 890 F.Supp. at 1375-1376, the court’s
(continued...)

-11-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 12 of 39

(a) Subject Matter Jurisdiction
When the jurisdiction of a federal court is questioned the
court necessarily has both the power and the duty to determine the

jurisdictional issue. See Cargill Ferrous Intern. v. SEA PHOENIX

MV, 325 F.3d 695, 704 (5th Cir. 2003) (“A bedrock principle of
federal courts is that they have jurisdiction to determine
jurisdiction.”); Scherbatskoy v. Halliburton Co., 125 F.3d 288, 290
(Sth Cir. 1997) (“This court necessarily has the inherent
jurisdiction to determine its own jurisdiction.”).

Although a judgment entered by a federal court was once open
to both direct and collateral attack on grounds that the court
entering the judgment lacked subject matter jurisdiction, a court’s
determination that it has subject matter jurisdiction is now
generally held to be a final decision not subject to collateral
attack if the issue of jurisdiction was actually litigated and

expressly decided, even if incorrectly. See Stoll v. Gottlieb, 59

S.Ct. 134, 137-138 (1938). See also United States v. United Mine

Workers of America, 67 S.Ct. 677, 695 & n.57 (1947) (citing inter

alia Stoll, 59 S.Ct. at 134) (“It cannot now be broadly asserted

that a judgment is always a nullity if jurisdiction of some sort or
other is wanting. It is now held that, except in case of plain

usurpation, a court has jurisdiction to determine its own

9(...continued)
Memorandum and Order of March 15, 2004, vacated that injunction.
See Docket Entry No. 493, pp. 14-16.

-12-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 13 of 39

jurisdiction, and if it be contested and on due hearing it is
upheld, the decision unreversed binds the parties as a thing

adjudged.”); Gschwind v. Cessna Aircraft Co., 232 F.3d 1342, 1346

(10th Cir. 2000), cert. denied, 121 S.Ct. 2520 (2001) (judgments are

void for lack of subject matter jurisdiction only where there is a
plain usurpation of power by a district court and not an error of

law in determining whether it has jurisdiction); Picco v. Global

Marine Drilling Company, 900 F.2d 846, 850 & n.6 (5th Cir. 1990)
(agreeing with this approach where the challenging party had a full
and fair opportunity to challenge the court’s jurisdiction by

appeal).

(b) Forum Non Conveniens Dismissal
When a defendant seeks dismissal under the doctrine of f.n.c.
the court must determine both whether it has subject matter
jurisdiction and what forum will best serve the convenience of the

parties and the ends of justice. See Gulf Oil Corp. v. Gilbert, 67

S.Ct. 839, 841 (1947) (“the doctrine of forum non conveniens can
never apply if there is absence of jurisdiction or mistake of

venue”); Koster v. Lumbermen’s Mutual Casualty Co., 67 S.Ct. 828,

833 (1947) (when considering a motion to dismiss for f.n.c. “the
ultimate inquiry is where trial will best serve the convenience of
the parties and the ends of justice”). Parties seeking f.n.c.
dismissals must demonstrate (1) the existence of an available and

adequate alternative forum and (2) that the balance of relevant

-13-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 14 of 39

private and public interest factors strongly favor dismissal. See

Veba-Chemie A.G. v. M/V GETAFIX, 711 F.2d 1243, 1245 (5th Cir.

1983); Vasquez v. Bridgestone/Firestone, Inc., 325 F.3d 665, 671

(Sth Cir. 2003).

(1) Conditionally Granted
Courts often condition f.n.c. dismissals on defendants’
agreement not to evade the jurisdiction of foreign courts. See,

e.g., Robinson v. TCI/US West Communications, Inc., 117 F.3d 900,

908 (5th Cir. 1997) (“measures needed to ensure that defendants will
not attempt to evade the jurisdiction of foreign courts” may
include “agreements between the parties to litigate in another
forum, to submit to service of process in that jurisdiction, to
waive the assertion of any limitations defenses, to agree to
discovery, and to agree to the enforceability of the foreign
judgment”).

The July 11, 1995, Memorandum and Order contained the

following conditions:

Delgado, Jorge Carcamo, Valdez, and Isae Carcamo will be

dismissed 90 days after the entry of this Memorandum and

Order provided that defendants and third- and fourth-

party defendants have:

(1) participated in expedited discovery in the
United States according to the following
schedule.

(2) either waived or accepted service of process and
waived any other jurisdictional defense within 40
days after the entry of this Memorandum and Order
in any action commenced by a plaintiff in these

actions in his home country or the country in which
his injury occurred. Any plaintiff desiring to

-14-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 15 of 39

bring such an action will do so within 30 days
after the entry of this Memorandum and Order;

(3) waived within 40 days after the entry of this
Memorandum and Order any limitations-based defense
that has matured since the commencement of these
actions in the courts of Texas;

(4) stipulated within 40 days after the entry of this
Memorandum and Order that any discovery conducted
during the pendency of these actions may be used in
any foreign proceeding to the same extent as if it
had been conducted in proceedings initiated there;
and

(5) submitted within 40 days after the entry of this
Memorandum and Order an agreement binding them to
Satisfy any final judgment rendered in favor of
plaintiffs by a foreign court.

Delgado II, 890 F.Supp. at 1373. The court’s Memorandum and Order

also included the following return jurisdiction clause:

c. Return

Notwithstanding the dismissals that may result from this
Memorandum and Order, in the event that the highest court
of any foreign country finally affirms the dismissal for
lack of jurisdiction of any action commenced by a
plaintiff in these actions in his home country or the
country in which he was injured, that plaintiff may
return to this court and, upon proper motion, the court
will resume jurisdiction over the action as if the case
had never been dismissed for f.n.c.

Delgado II, 890 F.Supp. at 1375.

(2) Reasons for Granting Conditionally
The court conditioned its f.n.c. dismissal of this case on
both the defendants’ agreements and the return jurisdiction clause
because the Fifth Circuit had previously directed district courts

granting f.n.c. dismissals to “ensure that a plaintiff can

-15-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 16 of 39

reinstate his suit in the alternative forum without undue
inconvenience or prejudice and that if the defendant obstructs such
reinstatement in the alternative forum that the plaintiff may

return to the American forum.” In re Air Crash Disaster Near

New Orleans, La., on July 9, 1982, 821 F.2d 1147, 1166 (5th Cir.

1987) (en banc), vacated on other grounds sub nom. Pan American

World Airways, Inc. v. Lopez, 109 S.Ct. 1928 (1989), opinion

reinstated on other grounds, 883 F.2d 17 (5th Cir. 1989). See also

Robinson, 117 F.3d at 907.

The Fifth Circuit had explained that courts granting f.n.c.

dismissals

must take measures, as part of their dismissals in forum
non conveniens cases, to ensure that defendants will not
attempt to evade the jurisdiction of the foreign courts.
Such measures often include agreements between the
parties to litigate in another forum, to submit to
service of process in that jurisdiction, to waive the
assertion of any limitations defenses, to agree to
discovery, and to agree to the enforceability of the
foreign judgment.

Baris v. Sulpicio Lines, Inc., 932 F.2d 1540, 1551 (5th Cir.),

cert. denied, 112 §.Ct. 430 (1991) (citing Air Crash, 821 F.2d at

1166).

(3) Purpose for Return Jurisdiction Clause
Since 1995 when the f.n.c. dismissal was entered in this
action, the Fifth Circuit has held that the “failure to include a
return jurisdiction clause in an f.n.c. dismissal constitutes a per
se abuse of discretion.” Robinson, 117 F.3d at 907. Concerned

that there is no guarantee either that a foreign forum will remain

-16-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 17 of 39

an available forum or that defendants will submit to a foreign
forum’s jurisdiction, the Fifth Circuit has explained that “[a]
return jurisdiction clause remedies this concern by permitting
parties to return to the dismissing court should the lawsuit become

impossible in the foreign forum.” See Vasquez, 325 F.3d at 675

(vacating f.n.c. dismissal and remanding with instructions to

include a return jurisdiction clause). See also Robinson, 117 F.3d

at 907-908 (describing return jurisdiction clause as “part of a
larger set of measures needed to ensure that defendants will not
attempt to evade the jurisdiction of the foreign courts which may
also include agreements between the parties”). The Fifth Circuit’s
requirement that f.n.c. dismissals contain return jurisdiction
clauses, and its explanations of the reasons for this requirement,
make it clear that return jurisdiction clauses are intended to
ensure that cases subject to those dismissals remain subject to the

dismissing court's jurisdiction.*°

(4) Preclusive Effect of F.N.C. Dismissal
“In general, f.n.c. dismissals are without prejudice
[and] the ordinary f.n.c. dismissal is not accorded full res

judicata effect.” Delgado II, 890 F.Supp. at 1374. See _ also

2°This conclusion accords with the reasons courts commonly use
to justify other conditions on which f.n.c. dismissals are often
premised, e.g., injunctions. See Delgado II, 890 F.Supp. at 1374-
1375, concluding that a “[c]Jontinuation of the preliminary
injunction .. . [was] necessary to preserve the status quo and to
preserve the court’s jurisdiction and authority until the parties
have taken the actions necessary to give effect to the terms of
this Memorandum and Order.”

-17-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 18 of 39

Vasquez, 325 F.3d at 676 and 680 (f.n.c. dismissal is not a
decision on the merits, i.e., dismissal based on federal f.n.c.
does not resolve the underlying substantive issues); American

Dredging Co. v. Miller, 114 S.Ct. 981, 989 &n.4 (1994) (f.n.c. “is

not a substantive right of the parties, but a procedural rule of
the forum”). Consequently, “[a] forum non conveniens dismissal in
one forum does not necessarily preclude the maintenance of an

identical suit in another forum.” Id. See also Chick Kam Choo v.

Exxon Corp., 108 S.Ct. 1864, 1690-1692 (1988) (because the only

issue decided by the f[d]Jistrict [c]ourt was that petitioner's
claims should be dismissed under the federal forum non conveniens
doctrine, injunction barring state courts from considering foreign
law claims exceeded scope of Anti-Injunction Act’s relitigation

exception).

2. Patrickson’s Effect on the Court’s Prior Rulings

“When [the Supreme Court] applies a rule of law to the parties
before it, that rule is the controlling interpretation of federal
law and must be given full retroactive effect in all cases still
open on direct review and as to all events, regardless of whether
such events predate or postdate [its] announcement of the rule.”

Harper v. Virginia Dep’t of Taxation, 113 S.Ct. 2510, 2517 (1993).

See also James B. Beam Distilling Co. v. Georgia, 111 S.Ct. 2439,

2448 (1991) (rule of federal law pertaining to choice of law once

announced and applied to parties before the Supreme Court must be

-18-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 19 of 39

given full retroactive effect to all others not barred by

procedural requirements or res judicata); Hulin v. Fibreboard
Corp., 178 F.3d 316, 329 & n.5 (5th Cir. 1999) (“that which
distinguishes a judicial from a legislative act, is that .. . [the

former] is a determination of what the existing law is in relation
to some existing thing already done or happened, while the
[latter] is predetermination of what the law shall be for the

regulation of all future cases”).

(a) Subject Matter Jurisdiction

The Supreme Court’s opinion in Patrickson, 123 S.Ct. at 1655,

establishes that this court’s conclusions that the Dead Sea
entities were instrumentalities of the State of Israel for purposes
of the FSIA and that their presence in this case conferred federal

subject matter jurisdiction were incorrect. See Rivers v. Roadway

Express, Inc., 114 §.Ct. 1510, 1519 (1994) (“A judicial construction

of a statute is an authoritative statement of what the statute
meant before as well as after the decision of the case giving rise
to that construction.”). Nevertheless, the court’s March 15, 2004,
Memorandum and Order denied plaintiffs’ motion to vacate the f.n.c.
dismissal because the court concluded that when it entered the
f.n.c. dismissal in 1995 it had an arguable basis for asserting
subject matter jurisdiction, and because the court was not
persuaded either that the prospective effect of the return
jurisdiction clause would inequitably deny plaintiffs their day in
court, or that the conflict between the Fifth Circuit’s opinion in

-19-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 20 of 39

this case and the Ninth Circuit's opinion in Patrickson constituted

special circumstances that warranted vacating the f.n.c.

dismissal .??

(b) Forum Non Conveniens Dismissal

Because the Supreme Court’s decision in Patrickson was issued

after this court’s assertion of subject matter jurisdiction was
fully litigated and after the f.n.c. dismissal became operative (as
evidenced by plaintiffs’ statement that they have filed suit in
their home countries) ,?%7 the court concludes that the f.n.c.
dismissal and the return jurisdiction clause on which it was
premised remain valid despite the Supreme Court’s subsequent

determination in Patrickson that this court’s assertion of subject

matter jurisdiction and the Fifth Circuit's affirmance were in

error. See Stoll, 59 S.Ct. at 137; United Mine Workers, 67 S.Ct.

at 695 &n.57.

The argument advanced in plaintiffs’ pending motion
implicitly, if not explicitly, recognizes that the return
jurisdiction clause contained in the July 11, 1995, Memorandum and
Order and the resulting order of f.n.c. dismissal are both valid

and enforceable:

*tSee Memorandum and Order, Docket Entry No. 493, at pp. 7-10
(explaining why dismissal is not void), pp. 12-14 (explaining why
court was not persuaded that return jurisdiction clause would deny
plaintiffs their day in court), and pp. 17-18 (explaining why court
was not persuaded that special circumstances exist that warrant
vacating the f.n.c. dismissal).

*2See Plaintiffs’ and Intervenors’ Motion to Vacate, Docket
Entry No. 483, p. 3 § 13.

~20-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 21 of 39

the [clourt can, consistent with its 1995 order of
dismissal, remand to state court for consideration of the
motion to reinstate. . . [because a]s suggested by the
Court’s recent Memorandum and Order denying Plaintiff’s
Motion to Vacate, such a remand will have no effect on
the applicability to the parties of the 1995 order of
dismissal .**

Plaintiffs argue, however, that as a result of Patrickson, this

court has lost the ability to adjudicate plaintiffs’ motion to

reinstate.

3. Parties’ Arguments

Citing Kokkonen v. Guardian Life Ins. Co. of America, 114

S.Ct. 1673, 1676 (1994), plaintiffs argue that the court lacks
jurisdiction to rule on their motion to reinstate because their
motion asks the court to resume jurisdiction over their claims and

that under Patrickson, 123 S.Ct. at 1655, the court cannot resume

jurisdiction.** Also citing Kokkonen, defendants argue that the
court has jurisdiction to rule on plaintiffs’ motion to reinstate
because plaintiffs’ motion only asks the court to enforce the terms
of the return jurisdiction clause contained in its valid judgment,
and federal courts have ancillary jurisdiction to enforce their own

judgments .?°

Costa Rican Plaintiffs’ Reply, Docket Entry No. 497, p. 3
§ 6. See also id. at p. 4 asserting that “remand will have no
effect on the enforceability of the Court’s judgment.”

"Costa Rican Plaintiffs’ Motion to Remand for Ruling on
Request for Return Jurisdiction, Docket Entry No. 495, p. 3 4 9.

"Dole Defendants’ Memorandum in Opposition, Docket Entry
No. 496, pp. 3-5.

-21-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 22 of 39

(a) Plaintiffs’ Arguments

In support of their argument that because of Patrickson, 123

S.Ct. at 1655, “the court cannot resume jurisdiction, and so must
remand this case to state court for consideration of the Motion for
Reinstatement,”*® plaintiffs assert:

In order to rule on the motion for reinstatement, the
Court would have to consider the facts presented by the
parties in their briefing on the motion for reinstatement
in order to determine whether those facts demonstrate
that Costa Rica is not an available alternative forum.
Vasquez v. Bridgestone/Firestone, Inc., 325 F.3d 665, 675
(Sth Cir. 2003) (noting that the purpose of a return
jurisdiction clause is to ensure the availability of an
alternative forum). However, a Court cannot address any
aspect of the forum non conveniens issue without first
determining that it has subject-matter jurisdiction.
Gulf Oil Corp. v. Gilbert, 67 S.Ct. 839 (1947) (*“[{T]he
doctrine of forum non conveniens can never apply if there
is absence of jurisdiction or mistake of venue.”) As
stated by the Fifth Circuit in Baris v. Suplicio.

We must determine, initially, whether the
federal district court had jurisdiction over
this removed action. Tf it did not have
jurisdiction at the time it ruled on the
question of forum non conveniens, we may not
consider that issue and must direct the
district court to remand the entire proceeding
to state court.

Baris, 932 F.2d at 1542. Consistent with Baris, because
the Court does not have subject-matter jurisdiction, it
cannot make any findings regarding the forum non
conveniens issue raised by the Motion for Reinstatement,
but instead must remand the Costa Rican plaintiffs to
state court.?’

"Costa Rican Plaintiffs’ Motion to Remand for Ruling on
Request for Return Jurisdiction, Docket Entry No. 495, p. 3 f 9.

"Id.

-22-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 23 of 39

(b) Defendants’ Arguments
Defendants argue that “the Court has the authority to consider
whether the Costa Rica plaintiffs’ motion to reinstate meets the
threshold for reinstatement established by the 1995 Judgment.”*°

Citing Royal Insurance Co. of America v. Quinn-L Capital Corp., 960

F.2d 1286, 1292 (5th Cir. 1992), cert. denied, 114 S.Ct. 1541

(1994) (quoting Southmark Properties v. Charles House Corp., 742

F.2d 862, 868 (5th Cir. 1984), defendants argue that “(i]t has long
been established that a federal court has ancillary jurisdiction to
resolve issues regarding the implementation or protection of its
judgments, even in the absence of an independent basis for subject
matter jurisdiction in the subsequent proceeding.”*? Defendants
also cite Kokkonen, 114 S.Ct. at 1676, for its description of the
two purposes for which ancillary jurisdiction has been asserted;

(1) to permit disposition by a single court of claims
that are, in varying respects and degrees, factually

interdependent; . . . and (2) to enable a court to
function successfully, that is, to manage its
proceedings, vindicate its authority, and effectuate its
decrees.

Defendants argue that

the cases cited by plaintiffs which stand for the
unremarkable proposition that a court must determine its
subject matter jurisdiction before making a forum non
conveniens ruling, are inapposite. The Court determined
its subject matter jurisdiction, which was upheld on
appeal, made its forum non conveniens ruling, and

22=Dole Defendants’ Memorandum in Opposition, Docket Entry
No. 496, p. 2.

°°Id. at p. 3.

-23-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 24 of 39

incorporated that ruling into a valid, final judgment
that provided for possible reinstatement, and the Court
has the authority to decide if the requirements for
reinstatement put in place by its Judgment have been
met .%*°
Defendants specifically argue that “[b]ecause the [m]otion to
[r]einstate [i]s {p]rovided for in the 1995 [j]udgment, the [c]ourt

[h}as [jJurisdiction to [r]esolve the [m] otion.”*!

(c) Analysis
For the reasons explained below the court concludes that it
lacks ancillary enforcement jurisdiction to decide the Costa Rican

plaintiffs’ pending motion to reinstate.

(1) Limited Jurisdiction of Federal Courts
Federal courts are courts of limited jurisdiction, possessing
only that power authorized by the Constitution and statutes of the
United States. Kokkonen, 114 S.Ct. at 1675 (citing Willy v.

Coastal Corp., 112 S.Ct. 1076, 1080 (1992)). Federal jurisdiction

is not to be expanded by judicial decree. Id. (citing American

Fire & Casualty Co. v. Finn, 71 S.Ct. 534, 542 (1951)). Moreover,

federal courts must presume that a cause lies outside their limited

jurisdiction, id. (citing Turner v. Bank of North America, 4 U.S.

(4 Dall.) 8, 11 (1799)), and place the burden of establishing the

contrary on the party asserting jurisdiction. Id. (citing McNutt

*°Id. at p. 5.
“Id. at p. 3.

-24-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 25 of 39

v. General Motors Acceptance Corp. of Indiana, 56 S.Ct. 780, 782

(1936)).

(2) Supplemental Jurisdiction
In 1990 the case law doctrines of “ancillary” and “pendent”
jurisdiction were codified under the name “supplemental
jurisdiction.” See 28 U.S.C. § 1367. See also David D. Siegel,
Practice Commentary following 28 U.S.C. § 1367 (West 1994).
Section 1367(a) provides:

Except as provided in subsections (b) and (c) or as
expressly provided otherwise by Federal statute, in any
civil action of which the district courts have original
jurisdiction, the district courts shall have supplemental
jurisdiction over all other claims that are so related to
claims in the action within such original jurisdiction
that they form part of the same case or controversy under
Article III of the United States Constitution. Such
supplemental jurisdiction shall include claims that
involve the joinder or intervention of additional
parties.

In Kokkonen, 114 S.Ct. at 1676, the Supreme Court observed that it
has asserted ancillary jurisdiction for two separate, though
sometimes related, purposes:

(1) to permit disposition by a single court of claims
that are, in varying respects and degrees, factually

interdependent; . . . and (2) to enable a court to
function successfully, that is, to manage its
proceedings, vindicate its authority, and effectuate its
decrees.

The first category of ancillary jurisdiction described by the
Kokkonen Court is codified in the supplemental jurisdiction

statute, 28 U.S.C. § 1367. See Hudson v. Coleman, 347 F.3d 138,

142 (6th Cir. 2003). The second category, which defendants argue

-25-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 26 of 39

vests the court with jurisdiction to rule on the motion to
reinstate, remains largely uncodified and is often referred to as

“ancillary enforcement jurisdiction.” Id.

(3) Ancillary Enforcement Jurisdiction
“Enforcement jurisdiction” refers to that portion of ancillary
jurisdiction based in the inherent power of federal courts to
enforce their judgments in certain situations where jurisdiction

would otherwise be lacking. See Peacock v. Thomas, 116 S.Ct. 862

(1996). See also U.S.I1. Properties Corp. v. M.D. Construction Co.,

230 F.3d 489, 496 & n.5 (1st Cir. 2000) (“we use the phrase
‘enforcement jurisdiction’ to refer to that portion of ancillary
jurisdiction based in the inherent power of federal courts to
exercise jurisdiction in order to enforce their judgments in
certain situations where jurisdiction would otherwise be lacking”) ;
S. Glenn, Note, Federal Supplemental Enforcement Jurisdiction, 42
S.C.L.Rev. 469, 472 (1991). In Peacock the Court explained that
[aJncillary jurisdiction may extend to claims having a
factual and logical dependence on “the primary lawsuit,”
. oe but that primary lawsuit must contain an
independent basis for federal jurisdiction. The court
must have jurisdiction over a case or controversy before
it may assert jurisdiction over ancillary claims.
Id. at 867 (citing, inter alia, Kokkonen, 114 S.Ct. at 1677). The
Court emphasized that it had
reserved the use of ancillary jurisdiction in subsequent
proceedings for the exercise of a federal court’s

inherent power to enforce its judgments .. . [because
wlithout jurisdiction to enforce a judgment entered by a

-26-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 27 of 39

federal court, “the judicial power would be incomplete
and entirely inadequate to the purposes for which it was
conferred by the Constitution.”

Id. at 868 (quoting Riggs v. Johnson County, 6 Wall. 166, 187, 18

L.Ed. 768 (1868)). The Court further explained that

[iJn defining that power, we have approved the exercise
of ancillary jurisdiction over a broad range of
supplementary proceedings . . . to assist in the
protection and enforcement of federal judgments including
attachment, mandamus, garnishment, and the prejudgment
avoidance of fraudulent conveyances.

Federal courts have also exercised ancillary jurisdiction over
requests to continue previously dismissed actions over which the

court has expressly retained jurisdiction. See Kokkonen, 114 S.Ct.

at 1677 (citing Julian v. Central Trust Co., 24 S.Ct. 399, 408

(1904) (“A bill filed to continue a former litigation in the same
court, or which relates to some matter already partly litigated in
the same court, or which is an addition to a former litigation in
the same court, by the same parties or their representatives
standing in the same interest, or to obtain and secure the fruits,
benefits, and advantages of the proceedings and judgment in a
former suit in the same court by the same . . . parties, standing
in the same interest .. . --is an ancillary suit.”). The limited
scope of federal jurisdiction confines the scope of ancillary
enforcement jurisdiction to proceedings that are a continuation of

the original action.

-27-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 28 of 39

(4) Court’s Conclusions Regarding Jurisdiction
to Rule

The Supreme Court’s decision in Patrickson, 123 S.Ct. at 1655,

establishes that the court’s assertion of subject matter
jurisdiction over this action based on the presence of the Dead Sea

entities was erroneous. See Rivers, 114 §$.Ct. at 1519. Because

plaintiffs challenged the court’s subject matter jurisdiction at
the time of removal, that issue was litigated and decided before
the court entered its judgment of f.n.c. dismissal. Because the
court’s assertion of subject matter jurisdiction was affirmed on
appeal in an opinion that the Supreme Court declined to review

before it decided Patrickson, 123 S.Ct. at 1655, the court’s

decision to assert subject matter jurisdiction over this action and
its decision that plaintiffs’ claims should be dismissed under the

doctrine of f.n.c. are both final. See Stoll, 59 S.Ct. at 137;

Gschwind, 232 F.3d at 1346.

Nevertheless, because the court’s f.n.c. dismissal decided
only that this is not a forum “where trial will best serve the
convenience of the parties and the ends of justice,” Koster, 67
S.Ct. at 833, and did not resolve any of plaintiffs’ claims on the

merits, see Vasquez, 325 F.3d at 676 and 680, and Chick Kam Choo,

108 §.Ct. at 1690-1692, the resulting judgment of dismissal
prevented plaintiffs from pursuing their claims in another American
court, but did not prevent plaintiffs from pursuing their claims in
foreign fora, and had no preclusive effect on the merits of

plaintiffs’ claims. See Vasquez, 325 F.3d at 679 (“Although an

-28-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 29 of 39

f.n.c. dismissal designated on the merits may bar reconsideration
of the claims in another Texas federal court, it cannot forever bar
the controversy from all American courts.”); American Dredging,
114 $.Ct. at 989 &n.4 (f.n.c. “is not a substantive right of the

parties, but a procedural rule of the forum”). See also Exxon

Corp. v. Chick Kam Choo, 817 F.2d 307, 312 (5th Cir. 1987), rev’d

on other grounds, 108 $.Ct. 1684 (1988) (even where the court enters

a final f.n.c. dismissal, it may reconsider the issue if there is
a change in the material facts underlying the judgment).

To ensure that foreign fora would be available to adjudicate
plaintiffs’ claims on the merits and that, if and when the highest
court of a foreign country dismissed plaintiffs’ claims for lack of
jurisdiction, plaintiffs could return to this forum, the f.n.c.
dismissal was conditionally premised on agreements between the
parties and on the return jurisdiction clause included in the

court’s July 11, 1995, Memorandum and Order. Delgado II, 890

F.Supp. at 1373-1375. See _ also Air Crash, 821 F.2d at 1166;

Robinson, 117 F.3d at 907-908; and Vasquez, 325 F.3d at 675.
Because the Supreme Court has held that district courts cannot
retain continuing jurisdiction over actions that are dismissed
pursuant to agreements between the parties without expressly
stating in the judgment either the terms of those agreements or the
court’s intent to retain continuing jurisdiction over them, and
because the Fifth Circuit has directed district courts to include

return jurisdiction clauses in f.n.c. dismissals to ensure that

-29-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 30 of 39

dismissing courts remain available in the event that foreign courts
are, or become, unavailable, the court concludes that the return
jurisdiction clause included in the court’s July 11, 1995,
Memorandum and Order constitutes an express statement of the
court’s intent to retain jurisdiction over this action, both to
enforce the agreements on which the dismissal was premised and to
ensure that an American forum remains available to adjudicate
plaintiffs’ claims if and when the highest court of a foreign

country dismisses them for lack of jurisdiction. See Kokkonen, 114

S.Ct. at 1677. Because the return jurisdiction clause expressly
provides that plaintiffs are to seek return via motion filed in
this court, the court concludes that plaintiffs’ filing (or
reassertion) of their motion to reinstate is a direct continuation
of the prior proceedings over which the court expressly stated its
intent to retain jurisdiction. Nevertheless, as explained below,
the court concludes that it lacks subject matter jurisdiction to
review plaintiffs’ motion to reinstate because (i) review of
plaintiffs’ motion is not needed to protect the court’s judgment of
f.n.c. dismissal, and (ii) the Supreme Court’s decision in

Patrickson terminated the ancillary enforcement jurisdiction that

existed from the court’s original assertion of subject matter

jurisdiction over this controversy.

(i) The Court’s Review Not Necessary
The court’s conclusion that its review of plaintiffs’ motion
to reinstate is not needed to protect its judgment of f.n.c.

-~30-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 31 of 39

dismissal is premised on three principles of federal law:
(1) £.n.c. dismissals decide only that the issuing court is an
inconvenient forum for plaintiffs’ claims and do not resolve any of

plaintiffs’ claims on the merits, see Vasquez, 325 F.3d at 676 and

680, Chick Kam Choo, 108 S.Ct. at 1690-1692, and American Dredging,

114 S$.Ct. at 989 & n.4; (2) despite the change in Supreme Court
decisional law effected by Patrickson, 123 S.Ct. at 1655, the

court’s f.n.c. dismissal remains valid and enforceable, see Stoll,

59 §.Ct. at 137, and Gschwind 232 F.3d at 1346; and (3) state

courts are presumed competent to resolve federal issues. See Chick

Kam Choo, 108 S.Ct. at 1691 (citing Pennzoil Co. v. Texaco, Inc.,

107 S.Ct. 1519, 1528-1529 (1987), and Clothing Workers v. Richmond

Brothers Co., 75 S.Ct. 452, 456-457 (1955)).

Defendants’ argument that the court is able to rely on its
ancillary enforcement jurisdiction to rule on plaintiffs’ pending
motion to reinstate is premised on the court’s retention of
jurisdiction to resolve issues concerning the implementation or
protection of its judgment.’ In support of this argument
defendants cite Kokkonen, 114 S.Ct. at 1676, for its description of
ancillary jurisdiction as enabling “a court to function
successfully, that is, to manage its proceedings, vindicate its
authority, and effectuate its decrees.” But the only issue decided
by the court’s f.n.c. dismissal was that this court was not a

convenient forum for plaintiffs’ claims. Following the f.n.c.

**Id.

-31-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 32 of 39

dismissal plaintiffs filed suit in their home countries. The court
therefore concludes that it does not need to enforce its judgment
of f.n.c. dismissal because the judgment of dismissal has been
fully effected.** Moreover, because the f.n.c. dismissal became

final before the change in decisional law effected by Patrickson,

123 §.Ct. at 1655, the court concludes that the return jurisdiction
clause remains available as an avenue for plaintiffs to reinstate

their claims in other American fora. See Stoll, 59 S.Ct. at 137;

Gschwind, 232 F.3d at 1346.

Although plaintiffs moved the court to vacate the f.n.c.
dismissal on grounds that following Patrickson, 123 $.Ct. at 1655,
“this [c]lourt has no jurisdiction to enforce the return juris-
diction clause,”** plaintiffs have not argued that the return
jurisdiction clause could not be enforced by state courts and could
not serve as a means for returning their claims to state courts.

While the court is persuaded that Patrickson precludes it from

resuming jurisdiction over plaintiffs’ substantive claims, the

Although in opposition to the plaintiffs’ motion to
reinstate, defendants allege that the Costa Rican plaintiffs did
not comply with the court’s judgment in good faith and, in fact,
presented their claims to the Costa Rican courts in a manner
designed to evoke dismissal for want of jurisdiction, the court is
not persuaded that even if true, defendants’ allegations evidence
a failure to effect the court's judgment of f.n.c. dismissal. See,
e.g., Defendants’ Opposition to Plaintiffs’ Motion for Reinstate-
ment of Claims by Plaintiffs from Costa Rica, Docket Entry No. 446,
filed on April 22, 1996.

34Pplaintiffs’ and Intervenors’ Motion to Vacate Order of
Dismissal and Injunction, and to Remand, Docket Entry No. 483,
p. 7, 4 31.

-~32-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 33 of 39

court is not persuaded either that Patrickson requires it to vacate

the f.n.c. dismissal, or that vacatur is needed to preserve the

plaintiffs’ ability to return to an American forum if and when

foreign fora are -- or become -- unavailable or inadequate.
Moreover, because f.n.c. “is not a substantive right of the
parties, but a procedural rule of the forum,” see American

Dredging, 114 S.Ct. at 989 & n.4, the court concludes that the
question posed by plaintiffs’ motion to reinstate, i.e., whether
plaintiffs’ claims should be returned to an American forum, must
now be addressed by the only courts to which those claims can be
returned, i.e., the state courts of Texas.

Although under Patrickson this court’s assertion of subject

matter jurisdiction was mistaken, under United Mine Workers of
America, 67 S.Ct. at 695 & n.57, and its progeny the resulting
judgment is neither void nor invalid. Because the judgment is
neither void nor invalid, the return jurisdiction clause on which
it was premised remains valid and enforceable. Because state
courts are presumed competent to resolve federal issues, see Chick
Kam Choo, 108 S.Ct. at 1691, the court concludes that the state
courts are capable of ruling on the Costa Rican plaintiffs’ pending
motion to reinstate and on any other like motions that may
eventually be filed by plaintiffs from other countries.
Accordingly, the court concludes that its review of the plaintiffs’
motion to reinstate is not needed to enforce its judgment of f.n.c.
dismissal because that judgment has been effected and because the

~33-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 34 of 39

return jurisdiction clause can be considered by the state courts in

which the cases originated.

(ii) Ancillary Jurisdiction Terminated
The court’s conclusion that the Supreme Court’s decision in

Patrickson terminated the ancillary enforcement jurisdiction that

existed from the court’s original assertion of subject matter
jurisdiction over this action is also premised on three principles
of federal law: (1) the Supreme Court’s construction of a federal
statute is the authoritative statement of what the statute meant
both before and after the decision of the case giving rise to that

construction, see Rivers, 114 S.Ct. at 1519; (2) ancillary

jurisdiction is supplemental to and necessarily dependent on the
court’s original assertion of subject matter jurisdiction, see
Kokkonen, 114 S.Ct. at 1677; and (3) new Supreme Court decisional
law must be applied to cases pending on direct review, see Harper,
113 S.Ct. at 2517.

Because the Supreme Court’s construction of a federal statute
is the authoritative statement of what the statute meant both
before and after the decision of the case giving rise to that

construction, see Rivers, 114 §.Ct. at 1519, the Court’s

construction of the FSIA in Patrickson establishes that the Dead

Sea entities were not instrumentalities of the State of Israel for
purposes of the FSIA when these cases were removed to this court.

Because ancillary jurisdiction is supplemental to and necessarily

~34-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 35 of 39

dependent on the court’s original assertion of subject matter

jurisdiction, Patrickson terminated whatever ancillary jurisdiction

existed. Nevertheless, because the court’s judgment of dismissal

had already become final when Patrickson was decided, plaintiffs
remain able to seek reinstatement pursuant to the return
jurisdiction clause by filing a motion in this court. But because
the court has concluded that plaintiffs’ motion to reinstate is a
direct continuation of the prior proceedings over which the court
expressly stated its intent to retain jurisdiction, the court also
concludes that plaintiffs’ motion to reinstate is subject to the
rule of law applied in Patrickson. See id. See also James B.
Beam, 111 S.Ct. at 2448 (rule of federal law once announced and
applied to parties before the Court must be given full retroactive

effect to all others not barred by res judicata or limitations).

B. Duty to Remand
Plaintiffs argue that because the court cannot resume
jurisdiction over this case, it must remand the underlying actions

to the state courts of Texas.

1. Statutory Authority to Remand

The court’s power to remand a removed action to state court is
set forth at 28 U.S.C. § 1447(c):

If at any time before final judgment it appears that the

district court lacks subject matter jurisdiction, the

case shall be remanded. . . A certified copy of the
order of remand shall be mailed by the clerk to the clerk

~35-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 36 of 39

of the State court. The State court may thereupon
proceed with such case.

This statute expressly limits the time during which a district
court can remand for lack of subject matter jurisdiction to “any

time before final judgment.” Id.

2. Finality of F.N.C. Judgment of Dismissal

Because f.n.c. “is not a substantive right of the parties, but

a procedural rule of the forum,” American Dredging, 114 S.Ct. at

989 &n.4, and because f.n.c. dismissals do not resolve the merits

of plaintiffs’ claims, see Vasquez, 325 F.3d at 676, the f.n.c.

dismissal entered in this case was “final” only for purposes of
appealing the court’s f.n.c. decision; the f.n.c. dismissal was not
a “final judgment” that extinguished the court’s duty either to
continue examining its subject matter jurisdiction over this case,
or to remand the underlying cases to state court when and if it

determines that it lacks subject matter jurisdiction.

(a) Original Source of Subject Matter Jurisdiction
The parties do not dispute that the Supreme Court’s decision

in Patrickson, 123 S.Ct. at 1655, that the Dead Sea entities are

not instrumentalities of the State of Israel for purposes of the
FSIA constitutes changed legal circumstances that divest this court
of the subject matter jurisdiction that it originally asserted over
this case. See Rivers, 114 S.Ct. at 1519. Accordingly, the court

concludes that Patrickson, 123 $.Ct. at 1655, terminated whatever

-36-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 37 of 39

ancillary jurisdiction existed from the court’s original (now
erroneous) assertion of subject matter jurisdiction over this

controversy. See Kokkonen, 114 S.Ct. at 1677 (ancillary juris-

diction is derivative).

(b) Alternative Source of Subject Matter Jurisdiction

Although defendants assert that “diversity of citizenship
undeniably exists here,”** they fail to explain how or why
diversity jurisdiction exits in this case, and plaintiffs deny its
existence.*© Absent defendants’ showing to the contrary, the court
must presume that a cause lies outside its subject matter
jurisdiction. See id. at 1675 (citing McNutt, 56 S.Ct. at 782
(party asserting federal jurisdiction bears burden of proof on that
issue)). Because plaintiffs’ pending motion to remand challenges
the existence of the court’s subject matter jurisdiction, and
because defendants have failed to present any evidence or any
argument from which the court could conclude that an alternative
basis for asserting subject matter jurisdiction over this case
exists, the court concludes that subject matter jurisdiction is

lacking.

Dole Defendants’ Memorandum in Opposition, Docket Entry
No. 496, p. 3.

36Costa Rican Plaintiffs’ Reply, Docket Entry No. 497, p.3 &

-37-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD_ Page 38 of 39

Vv. Conclusions and Order Of Remand

For the reasons explained above, Costa Rican Plaintiffs’
Motion to Remand for Ruling on Request for Return Jurisdiction

(Docket Entry No. 495) is GRANTED.®’

B. Order of Remand

For the reasons explained above the court concludes that the

Supreme Court’s decision in Dole Food Co. v. Patrickson, 123 S.Ct.

1655 (2003), divested it of subject matter jurisdiction over the
cases consolidated in this action and that the two actions
involving Costa Rican plaintiffs should be and are hereby SEVERED
from this action and REMANDED under 28 U.S.C. § 1447(c) for lack of

subject matter jurisdiction. Accordingly, Delgado v. Shell Oil

Co., H-94-1337, is REMANDED to the 212th District Court of

Galveston County, Texas, and Jorge Carcamo v. Shell Oil Co., H-94-

1359, is REMANDED to the 23rd District Court of Brazoria County.

[Despite their recognition of the fact that the motions
pending in this case pose novel questions of first impression, the
parties limited their briefing almost exclusively to the
unremarkable principles that courts must determine that they have
subject matter jurisdiction over an action and that courts possess
the ability to enforce their judgments without arguing how the
court should apply these principles to the unique facts of this
case to rule on the pending motions. As the length of this
Memorandum and Order indicates, the court has expended considerable
time reading the parties’ papers, and performing a significant
amount of independent research to be as fully informed as possible
when addressing their arguments. Accordingly, the court strongly
discourages the parties from seeking reconsideration based on
arguments they have previously raised or that they could have
raised.

-38-
Case 4:94-cv-01337 Document 498 Filed on 06/18/04 in TXSD Page 39 of 39

The Clerk of this court is ORDERED to promptly send a copy of this
Memorandum and Order of Remand to the county clerks of Galveston
County and Brazoria County.

SIGNED at Houston, Texas, on this the 18'* day of June, 2004.

Ade

(_’ SIM LAKE

UNITED STATES DISTRICT JUDGE

-39-
